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     In The United States Court of Federal Claims
                                              No. 09-583C

                                     (Filed: January 6, 2012)
                                           __________

  AUTOMAK GENERAL TRADING &
  CONTRACTING COMPANY, W.L.L.,

                                 Plaintiff,

                          v.

  THE UNITED STATES,

                                 Defendant.

                                               __________

                                                ORDER
                                               __________

       Today, a preliminary status conference was held in this case. Participating in the
conference were Ron Woodman, on behalf of plaintiff, and James Robert Sweet, on behalf of
defendant. As agreed upon by the parties at this conference, the court hereby orders the
following:

       1.       On or before February 3, 2012, the parties shall exchange initial
                disclosures;

       2.       On or before August 6, 2012, fact discovery shall be completed; and

       3.       On or before August 20, 2012, the parties shall file a joint status report
                indicating how this case should proceed, with a proposed schedule, if
                appropriate.

       IT IS SO ORDERED.




                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
